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CRIMINAL PROCEEDINGS - Arraignment and Change of Plea

 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge: Edward J. Lodge                            Date: December 5, 2017
Case No. 17-CR-00319-EJL-1                        Courtroom Deputy: Sherri O’Larey
Time: 11:15 - 11:34 a.m.                          Reporter: Lisa Yant

UNITED STATES OF AMERICA vs Marshall Haney

        Counsel for      United States: Christian Nafzger
                         Defendant: S. Richard Rubin, Federal Defender
                         Interpreter: not needed
                         Probation: Ben Biddulph

The Court noted for the record that the Court has been advised the defendant will be entering a plea of guilty
to the charges in this matter.
Court reviewed the defendant’s right to an Indictment in this matter and reviewed the waiver of indictment
with the defendant. The defendant signed the waiver of indictment.
Defendant - Sworn
Defendant found competent to enter a knowing and voluntary plea and is satisfied with representation and
         his attorney’s advise.
Counsel for the Government stated for the record the elements and evidence of the charge. The defendant
         understands the maximum penalties and elements of the charge and agree with Mr. Nafzger’s
         statement as to the factual elements.
Defendant’s Constitutional Rights explained and defendant stated he understood his rights.
Maximum punishment stated for the record and the defendant stated he understood the maximum penalties.
Each of Counsel agreed with the maximum penalties as stated by the Court.
Defendant and counsel advise the change of plea is knowledgeable and voluntary, have discussed
         potential defenses and understand the rights which are being given up and enter a plea of guilty
         to Count 1 of the Indictment.

Plea accepted. Sentencing set before Judge Edward J. Lodge: February 22, 2018 at 10:00 a.m.
        Court ordered a presentence investigation report.
                Original report to Counsel: January 11, 20178
                Notification of Objections: January25, 2018
                Final Report Due: February 8, 2018

Letters for the Court’s consideration should be submitted to the Probation Officer along with any
Objections. In the exceptional case where letters are not provided to the Probation Officer before the
filing of the final PSR, counsel must file the letters with the Court and such letters must be filed no later
than seven (7) days prior to the date of sentencing.
Sentencing memoranda shall be filed no later than seven (7) days prior to the date of sentencing. If the
memoranda contains information that is sensitive or private, then the filing party must file the sentencing
memoranda under seal. The filing party must provide the basis for filing the memoranda under seal either
in the memoranda itself or in a separate motion to seal.

Counsel shall advise the courtroom deputy at least fourteen(14) days prior to the date of sentencing if a
sentencing hearing is expected to last longer than one hour.

Government has no objection to the defendant being continued on release.

The Court ordered the defendant continued on release, advised the defendant to stay in contact with his
attorney and advised the defendant of possible penalties if he were to violate any of the terms and
conditions of his release.
